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                        20-3855

        UNITED STATES COURT OF APPEALS
            FOR THE SECOND CIRCUIT




        DEBBIE-ANN BROMFIELD-THOMPSON

                   Plaintiff-Appellant,

                            V.


    AMERICAN UNIVERSITY OF THE CARIBBEAN

        MANIPAL EDUCATION AMERICAS, LLC

                 Defendants-Appellees




    On Appeal From The United States District Court
        For The Southern District Of New York




     Reply Brief Of Debbie-Ann Bromfield-Thompson

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                         BRIEF PROCEDURAL HISTORY

      On October 13th, 2020 the district court dismissed Appellant's

(BROMFIELD-THOMPSON) disability discrimination lawsuit for lack of proper

service. The lawsuit had been brought against American University of Antigua

(AUA) and Manipal Education Americas, LLC (MEA} pursuant to the

Rehabilitation Act and the American With Disabilities Act. National Board of

Medical Examiners (NBME) which was a named party was dismissed as per

agreement of Bromfield-Thompson and NBME.

      The district court grounded its dismissal on "lack of proper service."

Although the parties had briefed jurisdictional issues, the district court declined

to rule on these jurisdictional issues.

      On February 25th, 2021 Bromfield-Thompson submitted her brief to this

Court arguing that under principles of agency AUA was properly served with the

complaint. Bromfield-Thompson also argued that MEA should not have been

dismissed from the case because MEA either had a "joint venture" or

"independent contractor" relationship with AUA as evidenced by documents

showing an independent contractor relationship between the two entities.

      On May 28th, 2021 AUA/MEA filed their Opposition arguing for affirmance

of the district court's dismissal because (1} Bromfield-Thompson failed to

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preserve the issue of agency in the district court and in any event dismissal for

improper service was proper, and (2) the Court should also affirm on alternate

grounds relating to jurisdiction which had been briefed but not decided by the

district court.

 STATEMENT OF THE ISSUES PRESENTED FOR REVIEW IN APPELLANT'S
                         REPLY BRIEF

1.       Whether Appellant preserved the principal-agency issue in the district

court.

2.       Whether the Court should affirm the district court on grounds other than

the issue of improper service of process.

                          SUMMARY OF THE ARGUMENTS

A.   Contrary to AUA/MEA's argument the issue of prlnclpal/agency was
preserved in the District Court.

B.   This Court should subject the dismissal of AUA from the lawsuit to de
novo review.

C.    The District Court specifically noted that it was not addressing the
jurisdictional Issue briefed by the parties, and therefore it was not made the
subject matter of the appeal and was not briefed by Bromfield-Thompson

D.     The Court should permit Bromfield-Thompson to file a supplemental
brief If the Court decides to entertain AUA/MEA argument for a ruling in its
favor on the jurisdlctlonal Issue that was not ruled on by the district court
but briefed solely by AUA in its Opposition.




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                                    ARGUMENT



 A.    Contrary to AUA/MEA's Argument The Issue of Principal/Agency Was
                      Preserved In The District Court

      Bromfield-Thompson did preserve the issue of AUA/MEA principal agency

relationship in the district court with respect to the "large bold typeface" which

was on the wall of the office at which the parties had been served .

             ...This is consistent with plaintiff's assertions that MEA
             has been always listed as an agent for AUA located in
             New York City in email exchanges with AUA.

(SA-188). The motion went on to state:

            ... By challenging service, AUA/MEA asks this court to
            disregard the true structure of its principal/agency relationship ...
            Under defendant's scheme of reasoning neither AUA nor MEA
            can be served with a summons and complaint, despite their
            agency relationship and despite the fact that they maintain offices
            in New York City, within the same building, on the same floor, and
            within the same space. As previously stated, this·argument is
            completely without merit.

(SA-188-189). The fact that AUA/MEA chose not to address this argument in the

district court does not mean that it was not preserved for review.

      At common law, "[a}gency is the fiduciary relationship that arises when one

person (a principal manifests assent to another "'an agent') that the agent shall



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act on the principal's behalf and subject to the principal's control, and the agent

manifests assent or otherwise consents so to act." Restatement (Third) of

Agency, Section 1.01 (2006). Whether an agency relationship exists is a mixed

question of law and fact. Commercial Union Ins. Co.       v. Alitalia Airlines, S.P.A.,

347 F.3d 448, 462 (2d Cir. 2003). In response to Bromfield-Thompson's

complaint alleging that AUA and MEA had an agency relationship (App. 44), AUA/

MEA presented their Service Agreement which states in relevant part,

"Relationship of the Parties. The parties to this Agreement are independent
contractors and neither party is an employee, agent, partner, or joint venturer of
the other." (SA-56).

Thus, any statement that the issue of agency was never preserved, whether

actual or apparent, is unworthy and lacking in candor. See United States          v.

Harrell, 268 F.3d 141, 146 (2d Cir. 2001) (an issue is reviewable when it fairly

appears in the record as having been raised or decided). Concededly, Bromfield-

Thompson had not used the term "actual or apparent" authority in her motion.

However, any definition of agency necessarily means "actual" ·o r "apparent

authority." See Whitney   v. Citibank, N.A., 782 F.2d   1106, 1115-16 (2d Cir. 1986).

Accordingly, the issue has been preserved for appellate review. Joe Fasano, et

al. v. Peggy Yu Yu, et al., 921 F.3d 333 (2d Cir. 2019).

e.    This Court Should Subject The Dismissal of AUA From The Lawsuit
Jo De Novo Review
      Dismissal for failure to state a claim from which relief may be granted is

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accorded de novo review. Brandon Cleveland and Isiah Jacksonv. Cap/aw

Enterprises, 443 F.3d 518 (2d Cir. 2006). As stated in Bromfield-Thompson's

brief, this standard is applied particularly strictly when the plaintiff complains of a

civil rights violation. Irish Lesbian & Gay Org. v. Giuliani, 143 F.3d 638, 644 (2d

Cir. 1998).

      In the district court AUA/MEA minimized the scope of MEA's role, noting

"MEA does not make substantive, academic decisions regarding AUA's students,

and the FAC does not allege otherwise ... [r]ather MEA handles administrative

matters for AUA, e.g., coordinating and managing the paperwork for AUA

students' clerkships at U.S. hospitals; processing tuition fees; and handling the

administrative aspects of admission and termination of AUA's U.S. based

students." SA-111. Schedule "A" which is attached to the Service Agreement

lays out a much broader role as to MEA to include providing admissions and

student services' for all AUA's programs; Acting as Registrar by maintaining

student records, scheduling clinical rotations, setting the academic calendar;

coordinating and supervising all clinical programs within the United States by

selecting and monitoring teaching hospitals and physicians for clinical programs;

and providing the Clinical Chairmen to oversee AUA's clinical training programs,

as well as providing an Academic Provost. SA-58. In an unsworn declaration

Vernon Solomon attested that all of the clinical coordinators with whom

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Bromfield-Thompson interacted were employees of MEA, not AUA. (SA-148).

He also claimed that Dr. James Rice who is based in Antigua, reviews and

assess student requests for accommodation, but he offers no first hand or

second hand knowledge whether Dr. Rice reviewed or evaluated Bromfield-

Thompson's multiple requests for accommodation. (SA-148). There was no

sworn or unsworn declaration from Dr. Rice himself. As to his representation that

the Appeals Committee in Antigua affirmed Bromfield-Thompson's dismissal

(SA-149), the record is bereft of any documentation to that effect. Bromfield-

Thompson's appeal was never addressed by either AUA or MEA. Mr. Solomon's

Declaration also fails to comply with 28 U.S.C. Section 1746. In the very first

paragraph he states " ... I Vernon Solomon, declare under penalty of perjury under

the laws of the United States of America that the foregoing is true and

correct." (SA-147). Indeed, Mr. Solomon was swearing to the correctness of the

case caption, and not the substance of what followed in his purported

Declaration. (SA-147).

      The attempt to tie Bromfield-Thompson to AUA's medical school in Antigua

is absurd. It bears repeating that Plaintiff was a transfer student from St.

Matthews University in Cayman Island and had never been to Antigua. She was

admitted into AUA solely to complete her clinical classes. All her interactions

were with AUA personnel in New York City beginning in 2010. All

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correspondence between AUA and Bromfield-Thompson had the insignia:

"Manipal Education Americas, LLC ,agent for American University of Antigua

College of Medicine." Some of the correspondence noted that MEA and its

subsidiaries each reserve the right to monitor all email communications through

its networks" (App. 44). Bromfield-Thompson's retrospective review of her

interactions with AUA reveals that it was never clear when she was dealing with

AUA as opposed to MEA. AUA/MEA deliberately created this illusion and now

seeks to be rewarded by attempting to deny Bromfield-Thompson the redress

she seeks. Bromfield-Thompson had rare and isolated contacts with Dr. Rice:

once in 201 0 when instruction was given to forward via facsimile copy of a report

to his office and a second time around 2015-2016 when asked to forward an

updated copy of a report to Dr. Rice (App. 42). She had never met nor spoken to

Dr. Rice and exchanged less than 3 emails with his office in a 6-year span. In

both instances it appeared that Dr. Rice's involvement was infinitestimal. At no

point over the years during difficulties with being granted accommodation was

there any interaction whatsoever with Dr. Rice. He made no inquiries about

Bromfield-Thompson's accommodation nor did he (or for that matter his office)

participate in setting up accommodation for exam taking. All decisions concerning

Bromfield-Thompson's accommodation occurred in the New York City office

where Bromfield-Thompson was led to believe that she was interacting with

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AUA'/MEA.

      If AUA's representation that it has no United States office are facially true,

then it appears to be a shell corporation insofar as its activi.ties in New York City

and the United States are concerned. This apparently is why it anointed MEA its

purported agent. Notwithstanding this fact, the school boasts on its website that

it is approved by the New York State Board of Education and is authorized to

offer federally guaranteed student loan (FAS FA) by the United States Department

of Education. This is an incredible feat for an educational institution which has

no offices or agent in New York City, let alone the United States. These are un-

rebutted averments in Bromfield-Thompson's complaint. (App. 41-42). If AUA/

MEA's argument is taken to its logical extreme it would be analogus to a United

States doctor sending his X-rays to Mogadishu for readings. If something then

goes wrong in the reading of the X'ray, the patient is then told to get on a flight to

Mogadishu and seek redress in the court in that jurisdiction because the United

States doctor cannot be sued in this country for 'misread' X-rays

in Mogadishu. It does not make sense since the patient has no nexus

whatsoever to the country of Mogadishu let alone a doctor there. Here

Bromfield-Thompson has no nexus to the medical school in Antigua let alone to

the country of Antigua.

       And so AUA/MEA makes a rather circular argument: AUA cannot be sued

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in the United States because it has no offices here, but MEA is not its agent even

though MEA is listed on numerous correspondence delineating agency status.

But to complete the circularity, AUA points to its Service Agreement with MEA

(which lists NYC in its forum selection clause), as proof that MEA is an

"independent contractor'' effectively in control of AUA's clinical program in the

United States. City of Chicago v. Matchmaker Real Estate Sales Ctr., Inc., 982

F.2d 1086, 1097-98 (7th Cir. 1982) (contracting language establishing an

"independent contractor" relationship insufficient to preclude finding of agency).

Here, it appears that AUA/MEA are obfuscating their true relationship to gain

litigation advantage. It bears repeating that AUA is approved by the New

York State Board of Education and is authorized to dispense federally

guaranteed student loans. This is unusual, given that AUA lacks any offices in

New York City or for that matter anywhere in the United States. Additionally, AUA

claims that MEA is not its agent.

      Accordingly, given the scope of MEA's responsibilities and provable

agency relationship with AUA, MEA ought not to have been dismissed from the

lawsuit. MEA is either singularly responsible for the wrongful conduct against

Bromfield-Thompson or jointly liable with AUA for such wro~gful conduct. At this

early stage of the litigation their roles are difficult to figure out with exactitude

given that they have structured themselves in a manner to create illusion.

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The district court had declined to grant jurisdictional discovery.

C.   The District Court Specifically Noted That It Was Not Addressing The
 Jurisdictional Issue Relating Jo AUA, And Therefore The Issue was Not
Made The Subject Matter Of The Appeal And was Not Briefed By Bromfield-
                                     Thompson
      AUA/MEA urges this Court to address the jurisdictional issue presented in

the district court. The Court below had indicated "In particular, Bromfield-

Thompson's claims against AUA are dismissed (without prejudice) pursuant to

Rule 12(b)(5) for insufficient service of process ... The Court need not, and does

not, consider Defendants' other arguments for dismissal." (App. 28). Thus, the

Court's decision rested solely on the issue of "improper service of process" with

respect to AUA. Bromfield-Thompson did not address the jurisdictional issue in

her brief and neither was her appeal based on this issue given that the dismissal

was based on improper service and not on any of the parties jurisdictional

arguments. According to AUA/MEA they saw fit to address the issue of

jurisdiction because appellate jurisprudence dictates that an appellate court may

rule on grounds not argued by the parties or dealt with by the district court so

long as there exists support in the record. (Appellees' Opposition, p. 36 ). This

enunciation of the black letter law is correct. Lotes v. Co. v. Hon Hai Precision

Indus., 753 F.3d 395, 413 (2d Cir. 2014).; Tellabs v. Makar Issues & Roghts, Ltd.,

551 U.S. 308, 313 (2007) (issues cursorily addressed by parties, but without



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benefit of district court's consideration will not be addressed by court); Leecan v.

Lopes, 893 F.2d 1434, 1439 (2d Cir.), cert denied, 496 U.S. 929 (1990).

       Moreover, this court will not consider arguments not made in appellant's

brief. Moates v. Bartley, ·147 F.3d 207,209 (2d. Cir. 1998); Federal Rules of

Appellate Procedure 28(a) (court must be provided with clear statement of issues

on appeal). Here, Bromfield-Thompson in deference to the Rules of Appellate

Procedure did not brief the issue of jurisdiction in her brief as that was not the

basis of the lower court's decision. AUA/MEA by briefing an issue which is within

the exclusive province of this court (whether to affirm on other grounds) has

created a situation in which Bromfield-Thompson is required to address an issue

in her Reply, but not raised in her brief. Bromfield-Thompson takes the

view that the jurisdictional issue inappropriately raised by AUA/MEA ought to be

disregarded by this court.

D.    The Court Should Permit Bromfield-Thompson To File A
Supplemental Brief If The Court Decides To Entertain AUA/MEA's Argument
For A Ruling In Its Favor On The Jurisdictional Issue That Was Not Ruled
On By The District Court But Briefed Solely By AUA In Its Opposition Brief.

      Bromfield-Thompson is poised to submit a supplemental brief should this

court decide that briefing the jurisdictional issue will be necessary to its decision.

D.    Conclusion:

      Wherefore, Bromfield-Thompson respectfully requests that this Honorable

Court grant judgment in her favor and reverse the district court's dismissal of her

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lawsuit and remand for continuation of the litigation.

                              Respectfully submitted,



                   ;]>LI~
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                           CERTIFICATE OF SERVICE

      I Debbie-Ann Bromfield-Thompson, hereby certify under penalty of perjury,

that on June 18th, 2021 I served Appellant's Reply Brief in Bromfield-Thompson

v. AUA/MEA, LLC, Docket No. 20-3855 upon the following counsel of record:

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                           ebbie-Ann Bromfield-Thompson




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